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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF VIRGINIA
                              BIG STONE GAP DIVISION

POTTER INSURANCE AGENCY, INC. and             )
PATRICK A. POTTER,                            )
                                              )
                                  Plaintiffs, )
       v.                                     )
                                              )
NATIONWIDE MUTUAL INSURANCE )
COMPANY,                                      )                 Case No.
                                              )
Serve:                                        )
Nationwide Mutual Insurance Company           )
Corporation Service Company, Registered Agent )
                   nd
100 Shockoe Slip, 2 Floor                     )
Richmond, VA 23219                            )
                                              )
                                  Defendant.  )
__________________________________________ )

                              COMPLAINT FOR
                     DECLARATORY AND INJUNCTIVE RELIEF

       Plaintiffs Potter Insurance Agency, Inc. and Patrick A. Potter (collectively, “Potter Agency”

or “Mr. Potter”), for their action against Nationwide Mutual Insurance Company (“Nationwide”),

allege as follows:

I.     THE NATURE OF THIS ACTION

       1.      The defendant, Nationwide, operates a property and casualty insurance business

throughout the United States using a network of independently contracted insurance agents who

agree to place their clients exclusively with Nationwide over the course of an entire career.

       2.      In exchange for that long-term exclusive commitment, Nationwide’s contracts include

a unique retirement-type severance package, which increases over the life of the contract – as the

agent’s business grows – and is payable upon retirement or other final cancellation of the contract.


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        3.      On or about December 31, 2016, Nationwide began to implement a scheme designed

to confiscate substantial portions of the post-termination retirement packages to which the agents

are contractually entitled. On that date, Nationwide eliminated a major component of the retirement

package.

        4.      On April 16, 2018, continuing with the scheme, Nationwide announced a plan to

terminate all of its exclusive agent contracts by July 1, 2020, via a set of complex arrangements

designed to confiscate further portions of the agents’ retirement packages and generate a massive

wealth transfer from the agents to Nationwide.

        5.      The Plaintiff, Mr. Potter, is one of the exclusive agents whose retirement package is

being confiscated, injured, and threatened by Nationwide’s actions.

        6.      This Complaint for declaratory and injunctive relief, focusing on three actions taken

by Nationwide in furtherance of its scheme, requests: (i) a declaration that each of those three actions

constitutes a breach of Mr. Potter’s governing contract, including its implied covenant of good faith

and fair dealing, (ii) injunctive relief with respect to two of those actions, and (iii) expedited

treatment with respect to the legal issues, which are pure contract interpretation questions.

II.     JURISDICTION AND VENUE

        7.      The Defendant Nationwide Mutual Insurance Company is a diversified insurance and

financial services company incorporated under the laws of the State of Ohio, with its principal place

of business in Columbus, Ohio.

        8.      Plaintiff Potter Insurance Agency, Inc. is organized under the laws of Virginia, with

its place of business at 619 E. Fifth Street, Big Stone Gap, Virginia 24219.

        9.      Plaintiff Patrick A. Potter, a resident of Tennessee, has his office and place of

business at 619 E. Fifth Street, Big Stone Gap, Virginia 24219.

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       10.       Complete diversity of citizenship exists and the amount in controversy exceeds

$75,000, exclusive of interest and costs. This Court has original jurisdiction of the case under 28

U.S.C. § 1332(a).

       11.       Venue is proper in the Big Stone Gap Division of the Western District of Virginia.

The business in question is located in this Division and the events giving rise to this action are

having their impact in this Division.

       12.       Acting within its jurisdiction, this Court may award the declaratory and injunctive

relief requested in this action pursuant to 28 U.S.C. § 2201, et seq.

III.   THE PARTIES

       13.       Nationwide Mutual Insurance Company is a large diversified insurance and financial

services organization with many subsidiaries and affiliates, conducting business throughout the

United States.

       14.       The Potter Agency has been a Nationwide exclusive agent since March 1, 1994,

operating under the Corporate Agency Agreement attached as Exhibit A. Mr. Potter, 57 years of age,

is the President of the Potter Agency.

       15.       The agency has been a family business selling Nationwide Insurance policies for more

than 58 years. Mr. Potter’s father, a World War II and Korean War veteran, opened the agency

representing Nationwide in 1960. In 1984, after serving four years in the United States Air Force,

Mr. Potter went to work for his father’s business. When his father retired in 1992, Mr. Potter was

charged with continuing the business as the Potter Agency.

IV.    NATIONWIDE’S EXCLUSIVE AGENT SYSTEM

       16.       The traditional model for insurance agencies is the “independent” model, where the

insurance agency has available and represents a number of insurance companies or “carriers” and

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selects from its stable of insurers the companies and products that best meet the needs of the

agency’s clients.

       17.     Over the past 50 years, some insurance companies have developed “exclusive” agent

contracts, where the insurance agency is required to place its clients with one particular insurance

company for the entire duration of the contract. (Agents who enter into these contracts are sometimes

referred to as “career” agents.) In exchange for long-term exclusivity, these companies provide

various types of “retirement-” like benefits at the conclusion of the contracts.

       18.     Apart from this exchange of a long-term exclusive commitment for retirement-type

benefits in the exclusive agent systems, there is no material difference between the operation of an

“independent” agency versus an “exclusive” agency. Both are autonomous independent contractors,

developing clients and placing them with insurance companies, generating insurance premiums for

the insurance companies in exchange for commissions paid by the companies. Nationwide, for

example, operates both an exclusive agent system and an independent agent system.

       19.     For most of Nationwide’s exclusive agents, including Mr. Potter, the retirement

package that Nationwide provides in exchange for the agent’s long-term exclusive commitment,

titled the Agency Security Compensation (“ASC”) Plan, consists of two components, called Deferred

Compensation Incentive Credits (“DCIC”) and Extended Earnings.

       20.     The DCIC component of the ASC plan is the contractual equivalent of a deferred

compensation retirement plan, rewarding longevity with a cumulative account that builds annually

but is not available until retirement or termination and, even then, not payable unless the agent has

reached certain age and tenure thresholds. The Extended Earnings component is an amount equal

to the renewal commissions paid to the agent during the twelve calendar months preceding the



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termination of the contract, recognizing the volume of recurring premiums generated by the agent

in the final year of the relationship.

        21.     Nationwide characterizes its ASC Plan as a unique incentive for committing to a

long-term exclusive relationship with Nationwide:

                DCIC and Extended Earnings make up the Agency Security
                Compensation Plan (ASCP) which is part of your career agent
                agreement. No other deferred compensation plan in the industry
                compares to the significant benefit provided by ASCP. While other
                companies have plans like Extended Earnings, DCIC is very unique
                and provides substantial deferred income. Many agents have DCIC
                balances in excess of $1 million and these are continuing to grow.

(Memorandum from Nationwide’s Office of Nationwide Agencies to Nationwide Agents,

06/14/1999, attached as Exhibit B.)

        22.     Because Nationwide exclusive agents are independent contractors, the ASC Plan

could not have been set up as a funded, qualified plan under the Internal Revenue Code, as

Nationwide also explains in Exhibit B. Nationwide nevertheless assures the agents that it assiduously

maintains the ability to satisfy its financial obligations under the ASC Plan:

                Although the Plan is not funded, Nationwide does recognize this
                obligation as a liability on the Companies’ financial statements and
                accumulates funds to pay these benefits. The ASCP is evaluated
                annually with the same actuarial scrutiny as other financial
                obligations.

(Id.)

        23.     From time to time, Nationwide assures its exclusive agents that it does not intend to

discontinue either component of the ASC plan, e.g., in Exhibit B:

                The purpose of this memo is to assure you that we have no plans to
                eliminate DCIC or Extended Earnings. We are committed to
                continuing these valuable benefits.

(Id.)

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V.     RELEVANT PROVISIONS OF MR. POTTER’S EXCLUSIVE AGENT CONTRACT

       24.     Exhibit A, the governing Corporate Agency Agreement, designates the Potter

Insurance Agency, Inc. as an independent contractor for all purposes (¶ 1), mandates that the Potter

Agency will “represent Nationwide exclusively in the sale and service of insurance” (¶ 4), and states

the Agreement may not be “changed, altered, or modified” except by a “writing signed by [the

Potter] Agency and an officer of Nationwide” (¶ 17).

       25.     The ASC plan is set forth in detail in ¶¶ 12(a) through 12(h) of the Agreement, under

the heading “Agency Security Compensation.” The computation provisions are set out in ¶¶ 12(a)

(DCIC) and 12(b) (Extended Earnings). The payment provisions are set out in ¶¶ 12(c) - 12(e).

       26.     Paragraph 12(f), titled “Cessation of Agency Security Compensation,” is, essentially,

a forfeiture for competition provision stating that post-termination competition by the Potter Agency

will result in loss of the entire ASC package.

       27.     Paragraph 12(h), titled “Amendments and Termination,” states Nationwide’s intent

to continue the ASC Plan indefinitely, but reserves the right to amend or terminate the plan “to

protect the Agency and Nationwide against unforeseen conditions”:

               Nationwide hopes and expects to continue the Agency Security
               Compensation Plan indefinitely, and every effort has been made to
               meet future conditions. In order to protect the Agency and
               Nationwide against unforeseen conditions, however, the right to
               amend or terminate this plan is necessarily reserved by Nationwide.
               Nationwide may terminate this plan by notification, at least sixty (60)
               days prior to such termination, in writing. No change in the Plan or
               termination, however, can alter or modify rights or benefits received
               or credited prior to such change or modification.

       28.     In December of 2013 Nationwide circulated a proposed modification of the agent

agreements of all exclusive agents entitled to receive DCIC benefits, including Mr. Potter. Titled

“Agent Compensation Choice Addendum,” the document offered an opportunity to give up the right

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to continue to earn and receive DCIC in return for a more favorable compensation schedule.

Essentially, the proposal asked the agents to elect between these two options:

               □       “remain eligible to earn Deferred Compensation Incentive
                       Credits (“DCIC”) until Agent turns age 65 pursuant to the IC
                       Agreement”
       or

               □       obtain a more favorable compensation schedule in return for
                       “giv[ing] up the right to earn and receive DCIC for any
                       insurance product sold by Nationwide, as of January 1, 2014”

Mr. Potter’s copy, which had an effective date of April 1, 2014, is attached as Exhibit C, showing

Mr. Potter selected the first option, electing to “remain eligible to earn [DCIC]” until age 65.

       29.     The proposed addendum also contained a reiteration of Nationwide’s “unforeseen

conditions” reservation in Paragraph 12(h) of Mr. Potter’s Agreement, stating that:

               Agent acknowledges that nothing contained in this Compensation
               Choice Addendum prevents or precludes Nationwide from
               unilaterally modifying or making changes to . . . the Agent Security
               Compensation provisions of Agent’s IC Agreement . . . if, in its sole
               discretion, Nationwide determines that such changes are necessary to
               address changing business and/or market conditions.

VI.    THE EVENTS GIVING RISE TO THIS ACTION

       A.      Elimination of the DCIC Component of the ASC Plan

       30.     In 2016, Nationwide issued a “unilateral amendment” to all exclusive agents,

including Mr. Potter, who had elected in 2014 to retain their DCIC benefits until age 65 via the

“Agent Compensation Choice Addendum.” Nationwide’s unilateral amendment (attached here as

Exhibit D) states that DCIC will be discontinued as of December 31, 2016: “In no event shall Agent

or Agency accrue any DCIC after December 31, 2016.”

       31.     Nationwide does not state any reason for unilaterally discontinuing DCIC benefits

and refuses to respond to inquiries asking what “unforeseen conditions” or “changing business

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and/or market conditions” might have arisen since 2014, when Nationwide and agents like Mr. Potter

confirmed their intention to continue DCIC to age 65 via the “Agent Compensation Choice

Addendum.” Nationwide simply maintains that it acted pursuant to applicable paragraphs in the

exclusive agent contracts (¶ 12(h) in Mr. Potter’s Agreement), “conferring authority upon

[Nationwide] to unilaterally amend certain provisions” of the Agreements. (Exhibit D.)

        B.     Elimination of the Extended Earnings Component of the ASC Plan

        32.    On April 16, 2018, Nationwide announced a unilateral at-will termination of all of

its exclusive agent contracts, including Mr. Potter’s, effective July 1, 2020. Specifically, Nationwide

states in that communication to Mr. Potter and all other exclusive agents that “after July 1, 2020,

Nationwide will no longer have exclusive agent contracts.”

        33.    In the April 16, 2018, termination announcement, Nationwide also states that it will

interrupt the normal functioning of the contract by eliminating the Extended Earnings component

of the ASC Plan during the year preceding the July 1, 2020 termination:

               Separately, Nationwide has made the decision to eliminate all non-
               DCIC deferred compensation, which will be phased out from Aug. 1,
               2019, through June 30, 2020. This includes extended earnings,
               agency cancellation and contingent cancellation payments. Although
               nothing is occurring until 2019, we want to give you time to think
               about your options. You will begin to receive details on this change
               in the next few days. (Emphasis added.)

        34.    Further “details” emerged in another announcement three days later, on April 19,

2018:

               As Mark Berven and I announced earlier this week, Nationwide has
               made the decision to eliminate all non-DCIC deferred compensation,
               which will be phased out from Aug. 1, 2019, through June 30, 2020.
               This includes extended earnings, agency cancellation, and contingent
               cancellation payments (“Non-DCIC Deferred Compensation”).
                                               ***


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               Nationwide has amended your P&C exclusive agent contracts,
               effective Apr. 16, 2018, to reflect this change. (Emphasis added.)

The “unilateral amendment” Nationwide is using to phase out the Extended Earnings component of

the ASC Plan is attached as Exhibit E. This is the same technique Nationwide used to discontinue

the DCIC component as of December 31, 2016, referring to applicable paragraphs (Paragraph 12(h)

in Mr. Potter’s Agreement) “conferring authority upon the companies to unilaterally amend certain

provisions” of the Agreements. (Exhibit E, third paragraph.)

       35.     Driving home the significance of this elimination of the Extended Earnings benefit

in the year preceding the July 1, 2020, termination, Nationwide repeatedly emphasizes in the April

19, 2018 announcement (¶ 34, supra) that

               •       As a result, you will not receive any [extended earnings]
                       should your P&C exclusive agent contract be cancelled on or
                       after July 1, 2020 . . .
                                                ***
               •       Please note the above applies to extended earnings contract
                       provisions.
                                                ***
               •       Again, you will receive no [extended earnings] should your
                       P&C exclusive agent contract be canceled on or after July 1,
                       2020.

       36.     Having sufficiently intimidated the agents with the prospect of a unilateral at-will

termination on July 1, 2020 with no Extended Earnings, Nationwide then turns to “options” that it

is offering the agents as a way to escape that dire consequence. These “options,” which are discussed

in more detail in ¶¶ 37 - 40, infra, are designed as a massive wealth transfer from the exclusive

agents to Nationwide. Essentially, Nationwide is using the threat of a unilateral at-will termination

with no Extended Earnings to coerce exclusive agents like Mr. Potter into agreements which require

them to “buy” their books of business from Nationwide in order to continue with their clients after

the exclusive contracts are terminated.

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        C.      Requiring Agents To “Buy” Their Own Books Of Business

        37.     Black’s Law Dictionary, p. 218 (10th Ed.) defines “book of business” as follows:

                book of business. (1959) 1. A salesperson’s list of accounts or
                clients. • Traditionally, the phrase is used in reference to financial
                advisers, insurance agents, private bankers, investment bankers, and
                financial planners. 2. By extension, an experienced lawyer’s roster
                of stable clients who are loyal enough to the lawyer to continue
                sending legal work to that lawyer regardless of which firm the lawyer
                might become affiliated with. (Emphasis added.)

        38.     Mr. Potter is a self-employed salesperson – an independent contractor insurance

 agent, with a Book of Business that is the essential tool of his trade. Mr. Potter’s Book of Business

 consists of a roster of his clients and prospects (including clients currently placed with Nationwide,

 clients currently placed with other insurers under contractually-permitted brokerage and

 outplacement arrangements, clients formerly placed with Nationwide and other insurers, and

 prospects who have not been placed with any insurer), along with addresses, contact points, personal

 information including gender and marital status, current business relationship (client, former client,

 prospect, etc.), and pertinent information concerning their insurance needs.

                         Charging Mr. Potter For His Book Of Business

        39.     To the extent Nationwide may succeed in forcing agents like Mr. Potter into

 alternative “options” by eliminating the Extended Earnings component of the ASC Plan in the final

 year of the contract (see ¶¶ 32 - 36, supra), Nationwide will use those options to obtain a massive

 wealth transfer from the agents to itself by charging them for their own Books of Business. In its

 April 19, 2018 communication, for example, Nationwide states:

                After becoming an independent agent through the ACE [Agent
                Contract Exchange] Options, you will own the book of business and
                have the opportunity to continue to grow these policy assets.



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        40.     Essentially, the Agent Contract Exchange (“ACE”) options require the agents to

 “buy” their Books of Business, either through (a) an outright purchase (with a three-year restriction

 on resale to another, followed by a two-year period in which Nationwide has a repurchase right) at

 an arbitrary price dictated by Nationwide, or (b) through a hypothetical asset transfer accompanied

 by an IRS Form 1099 (with Nationwide retaining effective control over the business for years) at an

 arbitrary valuation dictated by Nationwide.

 VII.   CAUSES OF ACTION

                                               COUNT 1

                    Elimination Of The DCIC Component Of The ASC Plan

        41.     The preceding Paragraphs 1 - 40 are hereby incorporated by reference.

        42.     Mr. Potter’s Corporate Agency Agreement specifies generally that the Agreement

 “may be changed, altered, or modified only in writing signed by [Mr. Potter] and an officer of

 Nationwide.” (Corporate Agency Agreement, Exhibit A, ¶ 17.)

        43.     Nationwide separately reserves the right to amend the ASC Plan, but only where

 necessary “to protect [Mr. Potter] and Nationwide against unforeseen conditions.” (Id., ¶ 12(h).)

        44.     In 2014, Nationwide and Mr. Potter, under the Agent Compensation Choice

 Addendum to his Corporate Agency Agreement, agreed that Mr. Potter would remain eligible to earn

 DCIC until age 65 (waiving an opportunity to obtain a more favorable compensation schedule in

 exchange for discontinuing his DCIC). (Exhibit C, p. 1.)

        45.     The Addendum also reaffirmed the “unforeseen conditions” reservation in the

 Corporate Agency Agreement, stating that Nationwide could unilaterally modify the ASC Plan if

 “such changes are necessary to address changing business and/or market conditions.” (Id., p. 2.)



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         46.    Effective December 31, 2016, Nationwide unilaterally amended the ASC Plan to

 eliminate DCIC prospectively, stating ¶ 12(h) of the Corporate Agency Agreement “conferr[ed]

 authority” upon Nationwide “to unilaterally amend” the ASC Plan.

         47.    Nationwide does not state any reason for unilaterally discontinuing DCIC and refuses

 to respond to inquiries seeking to discover what “unforeseen conditions” or “changing business or

 market conditions” might have arisen since 2014 to necessitate the discontinuance of DCIC.

         48.    On information and belief, there have been no “unforeseen conditions” or “changing

 business and/or market conditions” which would have necessitated the discontinuance of DCIC.

         49.    In light of Nationwide’s statement that it “accumulates funds to pay these benefits”

 and evaluates the ASC plan “with the same actuarial scrutiny as other financial obligations”

 (Memorandum from Nationwide’s Office of Nationwide Agencies to Nationwide Agents, Exhibit

 B), inability to make the payments would not be a legitimate bonafide reason for discontinuing

 DCIC.

         50.    In the absence of “unforeseen conditions” or “changing business and/or marketing

 conditions” necessitating cessation of these valuable compensation incentives, Nationwide’s

 discontinuance of DCIC as of December 31, 2016 by “unilateral amendment” is a breach of the

 express provisions of Mr. Potter’s Corporate Agency Agreement with its 2014 Agent Compensation

 Choice Addendum.

                         The Covenant Of Good Faith And Fair Dealing

         51.    Alternatively, even assuming, arguendo, that Nationwide’s unilateral amendment

 qualifies as an exercise of discretionary power reserved by Nationwide, that exercise of discretion

 would be in breach of the implied covenant of good faith and fair dealing, which requires



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 faithfulness to an agreed common purpose and consistency with the justified expectations of the

 other party.

        52.     Mr. Potter certainly had a justified expectation that Nationwide would not discontinue

 this unique contractual inducement for making a long-term exclusive commitment to Nationwide,

 purely as an exercise in corporate greed, particularly when Nationwide and Mr. Potter had just

 confirmed in 2014 that Mr. Potter would remain eligible to earn DCIC until age 65.

        WHEREFORE, the Potter Agency and Mr. Potter request

        (i)     a judgment declaring that Nationwide’s unilateral amendment discontinuing DCIC

 as of December 31, 2016 breaches the express provisions of the Corporate Agency Agreement, with

 its 2014 Agent Compensation Choice Addendum, and the implied covenant of good faith and fair

 dealing in the Agreement, and

        (ii)    an injunction directing Nationwide to restore Mr. Potter’s DCIC beginning January

 1, 2017.

                                             COUNT 2

                Elimination Of The Extended Earnings Component Of The ASC
                Plan

        53.     The preceding Paragraphs 1 - 52 are hereby incorporated by reference.

        54.     Mr. Potter’s Corporate Agency Agreement specifies that the Agreement “may be

 changed, altered, or modified only in writing signed by [Mr. Potter] and an officer of Nationwide.”

 (Corporate Agency Agreement, Exhibit A, ¶ 17.)

        55.     Nationwide separately reserves the right to amend the ASC Plan, but only where

 necessary “to protect [Mr. Potter] and Nationwide against unforeseen conditions.” (Id., ¶ 12(h).)




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        56.     On April 16, 2018, Nationwide announced a unilateral, at-will termination of all its

 exclusive agent contracts, including Mr. Potter’s, effective July 1, 2020, and simultaneously

 announced that it would phase out the Extended Earnings component of the ASC Plan during the

 year preceding the termination, using another “unilateral amendment.”

        57.     This time, Nationwide’s motive is particularly transparent. In the April 16 and April

 19, 2018 announcements, Nationwide drives home repeatedly the message that any agent who wishes

 to simply perform the contract until the announced termination date will end up with no Extended

 Earnings. With that intimidating message established, Nationwide offers its corrupt “options” – all

 of which are predicated on the assumption that Mr. Potter must “buy” his own Book of Business

 from Nationwide – as an escape.

        58.     Like the DCIC situation, there is no pretense that Nationwide has encountered

 “unforeseen conditions” that necessitate eliminating Extended Earnings “to protect [Mr. Potter] and

 Nationwide” or that eliminating Extended Earnings is “necessary to address changing business

 and/or market conditions.” This is pure extortion to accomplish a wealth transfer from the agents to

 Nationwide via the “options” – in other words, another exercise of corporate greed.

                         The Covenant Of Good Faith And Fair Dealing

        59.     Alternatively, even assuming, arguendo, that Nationwide’s unilateral amendment

 qualifies as an exercise of discretionary power reserved by Nationwide, that exercise of discretion

 would be in breach of the implied covenant of good faith and fair dealing, which requires

 faithfulness to an agreed common purpose and consistency with the justified expectations of the

 other party.




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        60.     Mr. Potter certainly had a justified expectation that Nationwide would not discontinue

 his Extended Earnings in the final year of his contract in order to pressure him into an agreement to

 buy his own Book of Business from Nationwide.

        WHEREFORE, the Potter Agency and Mr. Potter request

        (i)     a judgment declaring that Nationwide’s unilateral amendment phasing out Extended

 Earnings during the year preceding the announced July 1, 2020 termination is an anticipatory

 repudiation of the express provisions of the Corporate Agency Agreement and the implied covenant

 of good faith and fair dealing in that Agreement, and

        (ii)    an injunction prohibiting Nationwide from eliminating Extended Earnings prior to

 the announced July 1, 2020 termination.

                                                COUNT 3

                               Charging For The Book Of Business

        61.     The preceding Paragraphs 1 - 60 are hereby incorporated by reference.

        62.     Nationwide has no contractual basis for a claim that it owns Mr. Potter’s Book of

 Business. It cannot, therefore, make him buy it when the Corporate Agency Agreement is cancelled.

 It has invented this idea in order to take a large sum from Mr. Potter, after forcing him into its set

 of “options” by announcing the elimination of his Extended Earnings in the final year before the

 termination of his contract on July 1, 2020.

        63.     The governing Corporate Agency Agreement (Exhibit A) emphasizes that the Potter

 Agency is an independent contractor for all purposes (¶ 1), responsible for all expenses in connection

 with the operation of the agency (¶ 2), including all expenses associated with the development of the

 client base that forms the Book of Business of the agency, the essential tool of the trade of an

 independent contractor insurance agency.

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           64.    The Corporate Agency Agreement states that “it will be necessary for Nationwide to

 provide the Agency with certain manuals, forms, records, and such other materials and supplies as

 are necessary in the conduct of an insurance business” which are “company property” and must be

 returned to Nationwide upon cancellation of the Agreement (¶ 1). These manuals, forms, records,

 etc. to be provided by Nationwide do not constitute any portion of Mr. Potter’s Book of Business.

 Nationwide has no idea who any of Mr. Potter’s clients are unless and until Mr. Potter submits

 insurance applications to Nationwide on their behalf.

           65.    The Corporate Agency Agreement implicitly confirms that Mr. Potter owns and has

 the right to use his Book of Business. (See ¶¶ 63 - 64, supra.)

           WHEREFORE, the Potter Agency and Mr. Potter request a final judgment declaring that

 Nationwide does not own Mr. Potter’s Book of Business.

                           SUMMARY OF THE PRAYER FOR RELIEF

           The Potter Agency and Mr. Potter request the following declaratory, injunctive, and other

 relief:

           (a)    a judgment declaring that Nationwide’s unilateral amendment discontinuing DCIC

                  as of December 31, 2016 breaches the express provisions of the Corporate Agency

                  Agreement and the implied covenant of good faith and fair dealing in that agreement,

                  and an injunction directing Nationwide to restore Mr. Potter’s DCIC beginning

                  January 1, 2017;

           (b)    a judgment declaring that Nationwide’s announced unilateral amendment phasing out

                  Extended Earnings during the year preceding the announced July 1, 2020 termination

                  is an anticipatory breach of the express provisions of the Corporate Agency

                  Agreement and the implied covenant of good faith and fair dealing in that

                                                                                  COMPLAINT FOR DECLARATORY
                                                                                       AND INJUNCTIVE RELIEF
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                 Agreement, and an injunction prohibiting Nationwide from eliminating Extended

                 Earnings prior to the announced July 1, 2020, termination;

         (c)     a judgment declaring that Nationwide does not own Mr. Potter’s Book of Business;

         (d)     an award of all costs expended by the Potter Agency and Mr. Potter in connection

                 with this civil action; and

         (e)     such declaratory, equitable, and other relief as the Court finds appropriate.

                          REQUEST FOR EXPEDITED TREATMENT

         The Potter Agency and Mr. Potter request expedited treatment with respect to the legal issues

 identified in Counts 1 - 3 above, which are pure contract interpretation questions. The Potter Agency

 and Mr. Potter are being deprived of their DCIC by a “unilateral amendment” of questionable

 legality, are now faced with the loss of their Extended Earnings via another questionable “unilateral

 amendment,” and are simultaneously being pressured by Nationwide to “think about your options”

 to avoid that calamity. The “options” themselves are also of questionable legality, having been

 designed to extract a large amount of money and other concessions from the Potter Agency, using

 an empty assertion that Nationwide owns the Potter Agency’s Book of Business.

         The declaratory judgments requested in Counts 1 - 3 will serve a useful purpose by resolving

 existing and imminent controversies between the parties in a practical and efficient manner,

 expediting the ascertainment of rights, stabilizing legal relations between the parties, and dissipating

 uncertainty. Declaring the rights and obligations of parties involved in existing and imminent

 contractual disputes is a classic use of the Declaratory Judgment action, which is designed to

 expedite the ascertainment of rights and dispel the types of uncertainty that can accompany

 ambiguous contractual assertions.

 DATED:          July 9, 2018

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                                    Respectfully submitted,

                                    GLENN, FELDMANN, DARBY & GOODLATTE

                                    /s/ Robert A. Ziogas

                                    ROBERT A. ZIOGAS (VSB #24964)
                                    PAUL G. BEERS (VSB #26725)
                                    EMMA MADDUX KOZLOWSKI (VSB #85957)
                                    37 Campbell Avenue, S.W.
                                    Roanoke, VA 24011-2887
                                    Tel: 540-224-8000
                                    Fax: 540-224-8050
                                    Email: rziogas@glennfeldmann.com;
                                           pbeers@glennfeldmann.com;
                                           ekozlowski@glennfeldmann.com

                                    WILLIAM P. TEDARDS, JR.
                                    DC Bar No. 143636
                                    (Pro Hac Vice motion pending)
                                    1101 30th Street, NW, Suite 500
                                    Washington, DC 20007
                                    Tel: 202-797-9135
                                    Fax: 202-797-9139
                                    Email: BT@tedards.net

                                    Counsel for Plaintiffs Potter Insurance Agency, Inc.
                                    and Patrick A. Potter




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